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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF WISCONSIN

JASON L. REED,

        Plaintiff,
                                                    Case No. 19-cv-189-wmc
   v.

C.O. MEYER, C.O. WHITE, SGT.
GLICK, C.O. LIEBERT, NURSE LEE,
NURSE DRONE, and NURSE
KRAMMER,

        Defendants.


                            JUDGMENT IN A CIVIL CASE


        IT IS ORDERED AND ADJUDGED that judgment is entered in favor of

defendants dismissing this case.




        /s/                                             6/7/2021
        Peter Oppeneer, Clerk of Court                        Date
